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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                   PORTLAND DIVISION


 KELLY CAHILL, SARA JOHNSTON,                Case No.: 3:18-cv-01477-JR
 LINDSAY ELIZABETH, and HEATHER
 HENDER, individually and on behalf of
 others similarly situated,                  DEFENDANT NIKE, INC.’S MOTION
                                             TO UNSEAL DEFENDANT NIKE,
                              Plaintiffs,    INC.’S SUR-REPLY IN OPPOSITION
                                             TO PLAINTIFFS’ MOTION FOR CLASS
         v.                                  CERTIFICATION AND THE
                                             SUPPLEMENTAL DECLARATION OF
 NIKE, INC., an Oregon Corporation,          FELICIA A. DAVIS IN SUPPORT OF
                                             DEFENDANT NIKE, INC.’S SUR-REPLY
         Defendant.                          IN OPPOSITION TO PLAINTIFFS’
                                             MOTION FOR CLASS
                                             CERTIFICATION




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                                  L.R. 7-1(a) CERTIFICATION

         In compliance with Local Rule 7-1(a), Defendant Nike, Inc. (“Nike”) certifies that it has

conferred on this Motion to Unseal with Plaintiffs’ counsel regarding the substance of this

Motion. Plaintiffs do not oppose the Motion.

                                     MOTION TO UNSEAL

         Defendant Nike, Inc. (“Nike”) hereby submits this Motion to Unseal. On June 10, 2022,

Nike filed its Sur-Reply in Opposition to Plaintiff’s Motion for Class Certification (“Sur-Reply”)

and the Supplemental Declaration of Felicia A. Davis in Support of Defendant Nike, Inc.’s Sur-

Reply in Opposition to Plaintiff’s Motion for Class Certification (“Supplemental Declaration”),

under seal out of an abundance of caution. See ECF Nos. 257 and 258. After reviewing the Sur-

Reply and Supplemental Declaration, Nike has determined that they do not need to remain under

seal. As such, Nike respectfully requests that the Court unseal Nike’s Sur-Reply and

Supplemental Declaration.



Dated: June 24, 2022                          Respectfully submitted,



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